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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

TAMMY RENA DEWBERRY                       §
(TDCJ No. 930704),                        §
                                          §
              Petitioner,                 §
                                          §
v.                                        § Civil Action No. 3:20-cv-621-X
                                          §
LORIE DAVIS, Director                     §
Texas Department of Criminal Justice      §
Correctional Institutions Division,       §
                                          §
              Respondent.                 §

 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE
      JUDGE AND DENYING A CERTIFICATE OF APPEALABILITY

        The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions, and recommendation for plain error. Finding

none, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge.

        Considering the record in this case and pursuant to Federal Rule of Appellate

Procedure 22(b), Rule 11(a) of the Rules Governing §§ 2254 and 2255 proceedings,

and 28 U.S.C. § 2253(c), the Court DENIES a certificate of appealability. The Court

adopts and incorporates by reference the Magistrate Judge’s Findings, Conclusions,

and Recommendation filed in this case in support of its finding that Petitioner has

failed to show that reasonable jurists would find “it debatable whether the petition


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states a valid claim of the denial of a constitutional right” or “debatable whether [this

Court] was correct in its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484

(2000).1

       In the event that Petitioner will file a notice of appeal, he must pay the

applicable appellate filing fee ($505.00) or file a motion for leave to proceed in forma

pauperis on appeal.

       SO ORDERED this 8th day of July 2020.




                                              ____________________________________
                                              BRANTLEY STARR
                                              UNITED STATES DISTRICT JUDGE




       1Rule 11 of the Rules Governing §§ 2254 and 2255 Cases, as amended effective on
December 1, 2009, reads as follows:

                (a) Certificate of Appealability. The district court must issue or deny a
certificate of appealability when it enters a final order adverse to the applicant. Before
entering the final order, the court may direct the parties to submit arguments on whether a
certificate should issue. If the court issues a certificate, the court must state the specific issue
or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2). If the court denies a
certificate, the parties may not appeal the denial but may seek a certificate from the court of
appeals under Federal Rule of Appellate Procedure 22. A motion to reconsider a denial does
not extend the time to appeal.

               (b) Time to Appeal. Federal Rule of Appellate Procedure 4(a) governs the time
to appeal an order entered under these rules. A timely notice of appeal must be filed even if
the district court issues a certificate of appealability.

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